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IN THE UNITED sTATEs DIsTRIcT coURT _
FoR THE WESTERN DISTRICT oF TENNESSEE ”‘EDBY-"

wEsTERN DIVISION 65 msa FH 2,1,9

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STEPHANIE SIMMONS , m US D%STHCI mr
Plaintiff/Counter- W)U OF m MM
Defendant,

'V.
04-2075 Ml/P
ALLSTATE INSURANCE COMPANY,

Defendant/Counter'
Plaintiff.

ALLSTATE INSURANCE COMPANY,
Petitioner,

v.

STEPHANIE SIMMONS and

WASHINGTON MUTUAL FINANCE

GROUP, LLC f/k/a WASHINGTON

M'UTUAL BANK., FA,

Raspondents.

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ORDER FOLLOWING STATUS CONFERENCE

 

A status conference in this case was held on August 25,
2005. Representing Stephanie Simmons at the conference was
Linley Richter. Representing Defendant Allstate Insurance
Company was David Waldropr who appeared via telephone.
Representing Washington Mutual Finance Group, LLC f/k/a
Washington Mutual Bank, FA was John Wilson.

In accordance with the Response of Washington Mutual Finance

Tmsdocumentenmredonthedocketsheeth1con1Hanca
with Rule 58 and/or 79(3) FHCP on ‘ 'O §§

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Group, LLC to the Petition for Interpleader, Washington Mutual
Finance Group represented that it had no claims in the proceeds
of the settlement between Allstate and Ms. Simmons, and also
represented that it has no claims averse to Ms. Simmons.

The Court determined that Allstate had not deposited the
settlement proceeds of $73,000 with the Clerk of the Court, as
ordered at the conference of July 25, 2005. Counsel for Allstate
agreed to deposit those funds, which are to be delivered by
personnel from Counsel's office.l It was further agreed that
Allstate will pay the court costs in the case.

The question of to whom the deposited funds should
be disbursed will be presented by Plaintiff’s counsel for
determination in Plaintiff’s currently pending bankruptcy case.
Upon receipt of an order of the Bankruptcy Court, the funds
deposited with the court will be disbursed and the case dismissed

with prejudice.

So ORDERED this 29th day of August, 2005

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

 

1The funds have now been delivered to the clerk’s office.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CV-02075 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

.1 ohn S. Wilson

WYATT TARRANT & CO1\/[BS
1715 Aaron Brenner Dr.

Ste. 800

1\/1emphis7 TN 38120--436

Dee ShaWn Peoples

LAW OFFICE OF R. LINLEY RICHTER, IR.
100 N. Main St.

Ste. 2909

1\/1emphis7 TN 38103

David 1\/1. Waldrop

HOLLEY WALDROP NEARN & LAZAROV
9032 Stone Walk Place

Germantdwn7 TN 3 8138

R. Linley Richter

LAW OFFICE OF R. LINLEY RICHTER, IR.
100 N. Main St.

Ste. 2909

1\/1emphis7 TN 38103

.1 ohnny Quitman Rasberry

LAW OFFICE OF .1 OHNNY RASBERRY
100 N. Main St.

Ste. 2909

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

